                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         *
                                                 *
           v.                                    *
                                                 *        CRIMINAL NO. GJH-21-80
CHRISTOPHER ALLEN YOUNG,                         *
     a/k/a “40,”                                 *
                                                 *
                 Defendant.                      *
                                              *******

                GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

        The United States of American respectfully submits the following memorandum in aid of

sentencing in the above-captioned case, which is scheduled for May 5, 2022. On February 17,

2022, the Defendant, Christopher Allen Young, pleaded guilty to a single-count indictment

charging conspiracy to commit kidnapping, in violation of 18 U.S.C. § 1201(c). Consistent with

the plea agreement in this case, and pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal

Procedure, the government requests that the Court impose a guidelines sentence of 126 months’

imprisonment, to be followed by five years of supervised release, as well as restitution in the

amount of $8,000.

      I.         Background

        In pleading guilty, the Defendant entered into a plea agreement containing a detailed

stipulation of facts. See ECF 107. The government will not repeat those facts here. In sum, the

facts establish that the Defendant conspired with his four co-defendants to kidnap Victim A. The

Defendant, specifically, admitted that he led Victim A at gunpoint into a small utility closet (i.e.,

a “boiler room”) in an apartment building in Southeast Washington, D.C. There, the Defendant

and a co-defendant held Victim A captive and threatened to kill Victim A if Victim A did not give




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up information about Victim A’s valuables inside a room at the MGM Casino and Hotel. The

Defendant also threatened to kill Victim A’s family if he reported the kidnapping to police.

        The Defendant’s conviction for kidnapping conspiracy carries a statutory maximum

punishment of life imprisonment and five years of supervised release. See 18 U.S.C. § 1201.

Through the plea agreement, the parties have agreed that the applicable base offense level is 32,

pursuant to U.S.S.G. §2A4.1(a). The parties further agreed that a 2-level increase applies, pursuant

to U.S.S.G. §2A4.1(b)(3), because a dangerous weapon was used. The government does not

oppose a 2-level reduction in the Defendant’s adjusted offense level pursuant to U.S.S.G.

§3E1.1(a) based on the Defendant’s prompt recognition and affirmative acceptance of

responsibility for criminal conduct. The government also will make a motion pursuant to U.S.S.G.

§3E1.1(b) for an additional 1-level decrease in recognition of the Defendant’s timely notification

of his intention to enter a guilty plea.

        Accordingly, the parties contemplated that the Defendant’s final adjusted offense level

would be 31. The Presentence Investigation Report prepared by the U.S. Probation Office reaches

the same conclusion. See ECF 116. The PSR also concluded that the Defendant is in criminal

history category II. See id. ¶ 43. Accordingly, the Defendant’s guidelines range of imprisonment

is 121 to 151 months, see id. ¶ 82; and the guidelines range of supervised release is two to five

years, see id. ¶ 85.

     II.        Section 3553(a) Analysis

        As the U.S. Probation Office similarly concluded, a guidelines term of 126 months’

imprisonment, to followed by 5 years of supervised release, is sufficient but not greater than

necessary to achieve the relevant sentencing goals set forth in 18 U.S.C. § 3553.




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               A.      The Nature and Circumstances of the Offense

       The nature and circumstances of the Defendant’s offense plainly support the imposition of

a guidelines sentence. See 18 U.S.C. § 3553(a)(1).

       Though the Defendant did not initially hatch the plot to kidnap Victim A, the Defendant

was a crucial part of the operation and was key to its execution. First, the Defendant recruited and

supervised his brother, Mup, in carrying out the kidnapping. Early in the morning on February 3,

2021, the Defendant called Mup and directed him to get gloves so they could hold Victim A against

his will, while Sherman and Hebron stole Victim A’s valuables from the MGM. The Defendant

also recruited Mup by promising that, in exchange for Mup’s assistance in the kidnapping, the

Defendant would pay Mup from the Defendant’s share of the proceeds. And the Defendant

provided the escape vehicle in which the Defendant and Mup fled the site of the kidnapping.

       The Defendant also supplied the violence that was critical to the kidnapping’s “success.”

Even before the Defendant met Victim A, the Defendant indicated that he was prepared to use

violence. At the outset, the Defendant told Mup that, although the Defendant was willing, he did

not “want to have to crush [Victim A]” if Victim A resisted. When they encountered Victim A,

as the Defendant and Mup later recounted, the Defendant and Mup “play[ed] good cop bad cop”

on Victim A—with the Defendant being the “bad cop” who physically assaulted and threatened

Victim A into disclosing his PIN number and details about Victim A’s hotel room.

       Finally, it was the Defendant’s role to intimidate Victim A to prevent Victim A from

reporting the kidnapping to police. Not only did the Defendant tell Victim A, “[Y]ou going to

die,” but the Defendant also threatened Victim A’s family, stating, “If the police come, or anything

come, I got your address. Mom . . . your little brother, all them is gone!” Even more reprehensibly,

the Defendant appeared to revel in the pain and suffering that he and his co-defendants inflicted




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on Victim A. The Defendant bragged about making Victim A cry; the Defendant celebrated how

Hebron, too, “smacked the sense out of his ass”; and the Defendant assured his co-defendants that,

based on his conduct, Victim A would not report them to law enforcement.

               B.      The History and Characteristics of the Defendant

       The Defendant’s history and characteristics likewise support a guidelines sentence of

imprisonment. See 18 U.S.C. § 3553(a)(1).

       The Defendant knew the right way to treat people. He reported no history of abuse or

neglect. See PSR ¶ 62. His mother reported that he was a “great” father to his children. See id.

¶ 63. And the Defendant was capable of being gainfully employed. See id. ¶¶ 77–78. But by the

time he committed this offense, the Defendant had resigned from two separate jobs in two years.

See id. He was living rent-free alternately at his mother’s or his finacée’s homes. See id. ¶ 64. He

was collecting unemployment benefits. See id. ¶ 76. And, on Wednesday, February 3, 2021, rather

than looking for work, the Defendant began his day by preparing to commit a kidnapping.

       Nor was this the Defendant’s first use of weapons to steal from others. When Hebron

appeared to criticize the Defendant’s conduct during the kidnapping, the Defendant responded,

“Man, you’re talking to a motherfucking vet,” that is, a veteran of armed robberies. This was not

some braggadocio; the Defendant had, in fact, been convicted of armed robbery in D.C. Superior

Court in 2013. See id. ¶ 40. At the time he committed the armed robbery, the Defendant was on

court-ordered GPS monitoring in connection with a prior offense. According to the criminal

complaint, the Defendant committed the armed robbery by stealing the victim’s dog at gunpoint.

Like Victim A, the victim in that case feared for her life. See id. Thus, by February 2021, the

Defendant knew what he was doing. By his own admission, he was a seasoned professional.




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               C.      The Need for the Sentence to Reflect the Seriousness of the Offense, to
                       Promote Respect for the Law, and to Provide Just Punishment for the
                       Offense

       A 126-month sentence is also supported by the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment. See 18

U.S.C. § 3553(a)(2)(A).

       As a general matter, kidnappings are extremely serious offenses. But the kidnapping

carried out by the Defendant and his co-conspirators stands out as unusually dangerous and

extreme. The Defendant and his co-conspirators did not kidnap someone with whom any of them

had a prior relationship. They kidnapped Victim A, who—before February 3, 2021—was a

complete stranger to them. The conspirators, moreover, kidnapped Victim A from a popular public

place, and they did so in broad daylight. Then, rather than taking Victim A to some secluded

location, the Defendant and his co-conspirators held Victim A at gunpoint inside a utility closet in

the basement of a public housing project—mere feet from a row of first-floor apartment balconies.

And, instead of simply holding Victim A for ransom, the Defendant and Mup physically assaulted

and then threatened to kill Victim A if he did not give up access to what amounted to just $8,000

in personal valuables. The Defendant and Mup also threatened to kill Victim A’s family—mere

bystanders having nothing to do with the offense—if Victim A later spoke to police.

       Worse, although the Defendant has now accepted responsibility for his conduct, the

Defendant did not appear to appreciate the seriousness of the offense or respect for law at the time

he committed it. To the contrary, the Defendant treated the kidnapping—and his threats to Victim

A’s life—like it was a game. As the Defendant later boasted to his co-conspirators, Victim A “was

scared as shit.” The Defendant claimed, “Me and Mup was playing good cop bad cop on [Victim




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A]. . . . I mean good cop, bad robber.” Mup vouched for the Defendant’s performance, stating that

the Defendant “was bipolar. He would be cool with [Victim A] then motherfucking do the crazy.”

               D.      The Need to Provide Adequate Deterrence to Criminal Conduct

       The need for the sentence imposed to afford adequate deterrence to criminal conduct

further supports a 126-month term of imprisonment. See 18 U.S.C. § 3553(a)(2)(B).

       The case for specific deterrence is obvious. As noted above, the Defendant was previously

sentenced to 48 months’ imprisonment for committing an armed robbery. But less than two years

after the Defendant was released from supervision on that case, the Defendant joined his co-

conspirators to commit an armed kidnapping-burglary. See PSR ¶ 40. Apparently, the prospect

of “merely” a few more years’ imprisonment was insufficiently persuasive to deter the Defendant

from committing the same criminal conduct again. As for deterring others, a more-than-10-year

sentence in federal prison is the type of sentence that has a realistic chance of being noticed by

potential repeat armed robbers within the Defendant’s community.

               E.      The Need to Protect the Public

       The need for the sentence imposed to protect the public from further crimes of the

Defendant justifies a term of 126 months’ imprisonment as well. See 18 U.S.C. § 3553(a)(2)(C).

       The Defendant is a dangerous repeat offender. The Defendant previously committed an

armed robbery that caused the victim to fear for her life. In this case, the Defendant expressed his

willingness to use violence to “crush” Victim A even before the need arose. When the Defendant

met Victim A, he physically assaulted Victim A and told Victim A that he was “going to die.”

And, to prevent Victim A from cooperating with law enforcement, the Defendant threatened to kill

Victim A’s innocent family members.




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        The Defendant’s history also demonstrates that alternatives to incarceration are insufficient

to protect the public from his criminal conduct. The Defendant committed the armed robbery in

2013 at a time when he was being monitored by the court through GPS. See PSR ¶ 40. And, to

the extent the Defendant’s mental health problems undermine his ability to comply with the law,

the Court should note that it was the Defendant who refused to engage with mental health treatment

that was offered to him upon his prior release from incarceration. See id. ¶ 70.

        In this context, only a term of imprisonment that will result in the Defendant’s

incapacitation until his late thirties is adequate to protect the public.

                F.      The Sentencing Guidelines

        Finally, a 126-month term of imprisonment is fully consistent with the sentencing

guidelines. See 18 U.S.C. § 3553(a)(4)(A)(i). The base offense level takes into account that the

Defendant committed a kidnapping, specifically. The Defendant’s offense level was properly

enhanced because he used a dangerous weapon to commit the kidnapping. And the Defendant’s

criminal history category appropriately reflects the severity of the Defendant’s only prior adult

conviction.     Under these circumstances, a within-guidelines sentence of 126 months’

imprisonment is entirely reasonable.

    III.        Supervised Release

        The government agrees with the Probation Office’s recommendation that the Court impose

supervised release of five years—the maximum term of supervision under the guidelines and Title

18. See PSR at 20. First, the Defendant committed the instant offense between four and five years

after being released from his prior term of imprisonment. Second, the Defendant was previously

awarded early termination of supervision just three years into his prior five-year term. See id. ¶ 40.

Had the Defendant not been granted early termination, the Defendant would have been subject to




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supervision at the time he committed the kidnapping—potentially modifying the Defendant’s

behavior. Finally, a length term of supervised release will be critical to ensuring that the Defendant

satisfies his obligation to pay an amount of restitution that is significant in light of his outstanding

financial liabilities. See id. ¶ 80.

    IV.         Restitution

        Lastly, the Court should order the Defendant to pay the agreed-upon amount of restitution

of $8,000, reflecting the full amount of Victim A’s losses presently known to the government. See

ECF 107 ¶ 13. As per the parties’ agreement, this amount shall be due immediately and ordered

to be paid forthwith. See id.

     V.         Conclusion

        For the reasons set forth above, the government requests that the Court sentence the

Defendant to a term of 126 months’ imprisonment, to be followed by a five-year period of

supervised release, and order the Defendant to pay $8,000 in restitution.

                                                       Respectfully submitted,
                                                       Erek L. Barron
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                                               By:     ______/s/_______________________
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